Case 18-12095-BFK         Doc 97    Filed 10/03/18 Entered 10/03/18 17:27:19               Desc Main
                                    Document     Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)

In re:                                         )
                                               )
         WW Contractors, Inc.,                 )
                                               )               Case No. 18-12095-BFK
                                               )               Chapter 11
         Debtor.                               )
                                               )


                  AMENDED NOTICE OF HEARING AND NOTICE OF
                DEBTOR’S APPLICATION FOR AUTHORITY TO EMPLOY
         SAUL EWING ARNSTEIN & LEHR LLP AS SPECIAL LITIGATION COUNSEL



         NOTICE IS HEREBY GIVEN that WW Contractors, Inc., the debtor and debtor in possession
hearing (the “Debtor”) filed an Application for Authority to Employ Saul Ewing Arnstein & Lehr LLP as
Special Litigation Counsel (the “Application”) on July 13, 2018, wherein the Debtor seeks entry of an
order authorizing the Debtor to employ Saul Ewing Arnstein & Lehr LLP as Special Litigation Counsel
for the Debtor.

        A hearing regarding the Application and any responses thereto was scheduled for October 9, 2018
at 11:00 a.m. in Courtroom 1, 2nd Floor, Bostetter U.S. Courthouse, 200 South Washington Street,
Alexandria, Virginia 22314-5405. Please be advised that the hearing has been continued to November 6,
2018 at 11:00 a.m. in Courtroom 1, 2nd Floor, Bostetter U.S. Courthouse, 200 South Washington
Street, Alexandria, Virginia 22314-5405.


                                               Respectfully submitted,

                                               /s/ Aryeh E. Stein
                                               Aryeh E. Stein, VA Bar No. 45895
                                               Meridian Law, LLC
                                               600 Reisterstown Road
                                               Suite 700
                                               Baltimore, MD 21208
                                               (443) 326-6011
                                               astein@meridianlawfirm.com

                                               Counsel for Debtor



                                                   1
Case 18-12095-BFK         Doc 97     Filed 10/03/18 Entered 10/03/18 17:27:19                Desc Main
                                     Document     Page 2 of 2




                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of October, 2018, a copy of the foregoing notice was served
electronically to those parties on the Court’s CM/ECF notice list.


                                                /s/ Aryeh E. Stein
                                                Aryeh E. Stein




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